Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page1of141 PagelD 30

FILED

Writ No. W-0556570-C

Exhibit's ‘A' Affidavit of Harry J; Bonnell, M;D; with Curriculum Vitae.

3- 24CV-457-X

U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FILED

CLERK, U.S. DISTRICT COURT
By. ss )

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Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 2of141 PagelD-31

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After printing this label:

1. Use the ‘Print’ button on this page to print your label to your laser or inkjet printer.

2, Fold the printed page along the horizontal line.

3. Place label in shipping pouch and affix it to your shipment so that the barcode portion of the labe! can be read and scanned.

Warning: Use only the printed original label for shipping. Using a photocopy of thls label for shipping purposes is fraudulent and could result in
additional billing charges, along with the cancellation of your FedEx account number. “

Use of this system constitutes your agreement to the service condifions in the current FedEx Service Guide, available on fedex.com.FedEx will not
be responsible for any claim in excess of $100 per package, whether the result of loss, damage, delay, non-delivery,misdelivery,or misinformation,
untess you declare a higher value, pay an additional charge, document your actual loss and file a timely claim.Limitations found in the current FedEx
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attorney's fees, costs, and other forms of damage whether direct, Incidental,consequential, or special is limited to the greater of $100 or the
authorized declared value. Recovery cannot exceed actual documented loss.Maximum for items of extraordinary value is $1,000, ¢.9. jewelry,
precious metals, negotiable instruments and other items listed in our ServiceGuide. Written claims must be filed within strict time limits, see current
FedEx Service Guide.

Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page3o0f141 PagelD 32

'

I. AFFIDAVIT OF HARRY J. BONNELL, M.D.

Re: Emest GAINES, TDCJ#01364192

I, Harry J. Bonnell, M.D., declare as follows:
{’ I am a medical doctor, currently employed as a Forensic
Pathologist licensed to practice Medicine in the State of California. A true

and correct copy of my curriculum vitae is attached as Exhibit A.

2. I attended Georgetown University Medical School in
Washington, D.C., and graduated from that program in 1979. I have taught
at the University of Washington, Madigan Army Medical Center, King
County Corrections Center, Uniformed Services University of Health
Sciences, University of Cincinnati College of Medicine, and the School of
Medicine of the University of California, San Diego.

3 From 1991-2001, I was the Chief Deputy Medical Examiner for
the Office of the Medical Examiner in San Diego, California. I have also
been Chief Deputy Coroner and Director of Forensic Pathology of Hamilton
County, Ohio, Staff Pathologist in the Forensic Sciences Department at the
Armed Forces Institute of Pathology, and Assistant Medical Examiner of
King County, Washington.

4. . Ihave personally performed over 7000 autopsies and provided
swom testimony more than 950 times in the Superior Courts of twenty

states, six Federal Court jurisdictions, and eight military courts.

5. I have agreed to help the above-named inmate on a pro bono
_basis by reviewing and analyzing testimony, reports and other forensic

materials related to his conviction and within my field of expertise.

6. I have reviewed and analyzed

]

“Case 3:24-cv-00457-X-BK Document4 Filed 02/20/24 Page4of141 PagelD 33

¢ The DNA sample submission forms of 11/20/2014
¢ The STR Data Worksheet

*¢ All of the printouts of the DNA Analysis using Applied
Biosystem Gene Mapper to include page 2 which pertains to the

driver door sample.

b Based on this review and analysis as well as my education,
training and experience, it is my opinion to a reasonable degree of medical

certainty that:

¢ None of the samples undergoing DNA analysis meet current
criteria for a “match”, i.e. the same findings at 13 loci on the
DNA strand. As shown on the STR Data Worksheet, only six
loci are matches and these are questionable for the reasons

listed below.

e More serious are the errors between the STR Data Worksheet
and the gene mapper graph.

« The gene mapper graph (GMP) shows INConclusive and 16 at
locus D3$1358 yet the Data Worksheet erroneously lists 16,16

for that locus.
¢ The GMP shows INConclusive and 14 at locus D19S433 yet

the Data Worksheet erroneously lists 14,14 for that locus.
e The GMP shows INCconclusive and 16 at locus vWA yet the

Data Worksheet erroneously lists 16,16 for that locus.

This results in there being matching findings at only two loci,

far from even being considered as a match.

Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page5of141 PagelD 34

8. I am not being reimbursed in any manner for rendering this
analysis and report nor am I commenting on the false report of the 2824

Judicial Court wherein it stated that a hearing was held but that was untrue.

9. I am willing to testify, if needed, to the above.

I declare that the foregoing is true and correct.

tL
Executed this _ 7 day of Fee 2622 _ in Boulder City,

Nevada.

y

Y# BONNELL, MD.

State of: NEVADA -="2tiserges

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County of: CLARK C
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The ferenons eee vas oe oe JEAN SLATER
aN da) of eal 3 STATE OF NEVADA
Sd ag #7} ‘Appt. No, 02-75498-1
Z tary Pub at, Ris” My Appl Expires FEBRUARY 1, 2026

UNDERGRADUATE:

CURRICULUM VITAE

Harry J. BONNELL, M.D.

Forensic Pathology Consultant
1400 Colorado Street
Boulder City, Nevada 89005

E-Mail: bonnell@4n6pathology.com

EDUCATION AND TRAINING

Georgetown University
Washington, D.C.

MEDICAL EDUCATION: Georgetown University

Washington, D.C.

RESIDENCY: Veterans Administration Medical Center
Martinez, California Anatomic Path
University of Washington
Seattle, Washington Anatomic Path
FELLOWSHIP: Office of the Medical Examiner
Seattle, Washington Forensic Path
CERTIFICATION: | Anatomic & Forensic Pathology
LICENSURE: California, 1979 & 1991 (active)
Washington, 1981 (inactive)
Ohio, 1987 (inactive)
MILITARY SERVICE
U.S. Army, Military Police Rank of Captain

U.S, Air Force, Medical Corps Rank of Major

Casé 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page6of141 PagelD 35

BA 1965-1968

MD 1975-1979

1979-1981

1982-1983

1981-1984

1985

1969-1973
1984-1987

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‘| ° Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 7of141 PagelD 36

BONNELL, Harry J. -2-

ACADEMIC APPOINTMENTS |
Instructor in Pathology 1981-1984
University of Washington

Seattle, Washington

Instructor in Pathology 1981-1984
Madigan Army Medical Center
Fort Lewis, Washington

Instructor, King County Corrections Center 1983-1984
Rehabilitation Program
Seattle, Washington

Adjunct Assistant Professor 1985-1987
Uniformed Services University of Health Sciences
Bethesda, Maryland

Assistant Clinical Professor, Pathology 1987-199]
University of Cincinnati College of Medicine
Cincinnati, Ohio

Associate Clinical Professor, Pathology 1992-2006
U.C. San Diego School of Medicine
San Diego, California

EMPLO NT HISTORY

1981-1984: Assistant Medical Examiner, King County (Seattle)
Washington

1984-1987: Staff Pathologist, Forensic Sciences Department,
Armed Forces Institute of Pathology, Washington, D.C.

1987-1991: Chief Deputy Coroner and Director of Forensic
Pathology, Hamilton County (Cincinnati), Ohio

1991-2001: Chief Deputy Medical Examiner
San Diego County, California

2001-Present: Self-employed consultant
!
’ Casé 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 8of141 PagelD 37

Bonnell, Harry J. -3-

PROFESSIONAL AFFILIATIONS

American Academy of Forensic Sciences (1980-present)
National Association of Medical Examiners (1980-present)
Parents of Murdered Children
Member, Board of Trustees (1991- 2015)
Member, Second Opinion Services (1998-2015)
San Diego County Child Fatality Review Committee (1991- 2001)
Chair/Co-Chair 1993-98
San Diego County Domestic Violence Review Committee (1997-2001)
San Diego Citizen Review Board on Police Practices (2005-2013)

PUBLICATIONS

Terminal Air Embolus Associated with Pneumatosis Cystoides
Intestinalis, Am J For Med & Path, March, 1982.

Antemortem Chemical Hypothyroxinemia, J For Sci, January, 1983.

Boot Top Fractures in Pedestrians: A Forensic Masquerade, Am J For
Med & Path, June, 1983.

Synchronous Bilateral Seminomas and Teratoma, Henry Ford Hospital
Med Journal, December, 1983.

Ethanol in Sequestered Hematomas: Quantitative Evaluation, Am J
Clin Path, 1984.

Left Pontine Lipoma, Arch of Path, 1985.

Correlation of Physical Findings with Circumstances Surrounding
Death in Hangings, J For Sci, 1985,

A Procedure for the Investigation of Anesthetic/Surgical Deaths, J For Sci, 1985.
Fatty Liver in Sudden Childhood Death: Implications for Reye's
Syndrome, Am J Dis Children, 1986.

**also printed in French edition.

Wah Mee Massacre: the Murder of 13 Chinese Adults, Am J For Med &
Path, December, 1986.
: : - Casé 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 9 of 141 PagelD 38

Bonnell, Harry J. -4-

Clinical and Pathologic Aspects of Cardiomyopathy from Ipecac

Administration in Munchausen's Syndrome by Proxy, Pediatrics, 1996.
*** also extracted for Quarterly Child Abuse Medical Update

Post-mortem Drug Redistribution, Forensic Sciences Review, July, 2001.

OTHER QUALIFICATIONS

Medicolegal autopsies: More than 7000 performed personally.

Testimony experience: Provided sworn testimony more than 950 times
in 20 states, as well as federal courts and courts martial.

Aircraft Mishaps: 37 on-site investigations to include autopsies.

2008 — present: Appointed to Expert Witness Panel, Los Angeles Superior Court

OTHER ACTIVITIES
Eucharistic Minister, St. Therese Parish, San Diego 1992 — 2016
Parish Council (Communications Chair) 1996-1998,
Little League Umpire (Volunteer) 1992 - 2016
San Carlos LL Umpire-in-Chief 1994 — 1998
District 33 Patriot League (Seniors) Umpire-in-Chief 1997 — 2008
Synchronized Swimming Judge (volunteer) Level III 1994 ~ 2008

MOST VALUED AWARDS

1973 —- US Army Meritorious Service Medal

1986 —- US Army Meritorious Service Medal (1 Oak Leaf Cluster) while serving in US
Air Force

1987 — Department of Defense Commendation Medal

1996 — Foundation For Improvement of Justice Medal ($10,000 award)

1999 ~— Physician of the Year, San Diego County Child Abuse Coordinating Committee

2001 — Little League Umpire Service Award

2002 — First Responder Award (San Diego International Airport)

2003 — Empty Shoes Award (Parents of Murdered Children)

2007 - Selected for Europe/Middle East/Africa Little League Umpire in World Series

Regional Tournaments

7/2021
‘Case’ 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 10o0f141 PagelD 39

Exhibit's 'B' DNA Testing report by Forensic Scientist Nicole Mullins.

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“ Case’ 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 12 of 141 PagelID 41

DALLAS COUNTY

Public Defender’s Office

November 11, 2019

Mr. Ernest Edward Gaines, #01364192
Michael Unit

2664 FM 2054

Tennessee Colony, TX 75886

Re: State of Texas vs. Ernest Edward Gaines, F05-56570-S
Dear Mr. Gaines,

Enclosed please find the DNA Laboratory Report dated 3/31/15 and the Forensic Biology
Laboratory Report dated 1/27/15. I have also included the information I received from DPS
regarding your case. It totals 58 pages.

All other documents in my file have already been provided to you via letters dated
August 15, 2014 (Order Appointing Counsel, Chapter 64 Motion and Court’s Notification),
September 22, 2014 (general correspondence), October 8, 2014 (State’s response), November 11
2014 (Order Granting Motion), July 15, 2015 (DPS lab reports which are duplicated above) and
August 12, 2015 (Chapter 64 Findings),

?

Best of luck to you in the future.

Sincerely,

/y
Julie Lesser
Assistant Public Defender

Encl.

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"Cage! 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 13 o0f141 PagelID 42

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TEXAS DEPARTMENT OF PUBLIC SAFETY

CRIME LABORATORY
402 W IK 30
Garland, TX 75043-5902
Voice 214-881-2150 Fax 274-861-2194
GarlandCrimoLab@dps.texas.gov

STEVEN C. Mectaaw COMMISSION

DIRECTOR A CYNTHIA LEON, CHAIR
Oavid G. BAKER . MANNY FLORES
ROBERT J. BODISCH, 5A FAITH JOHNSON
DEPUTY DIRECTORS STEVEN F. MACH

Laboratory Case Number: GAR-1411-4 2607 RANDY WATSON
Forensic Biology Laboratory Report
issue Date: January 27, 2015
Karen Wise
Dallas County District Attorney's
Office

_ 133 N Riverfront Blvd
Dallas, TX 75207

Agency Case Information: Dallas County District Attorney's Office - F0556570S
Offense Information: Robbery - 08/28/2005 - Dallas County
Suspect(s): GAINES, ERNEST EDWARD (DOB 06/01/1966)

Victim(s): CANTU, MSC ane

Submission Information:
01 - brown box on November 10, 2014 by Hammond, James VIA In Person
03 - 6x9 white envelope on January 12, 2015 by Hammond, James VIA In Person

Requested Analysis: Screen for biological evidence,

Evidence Description, Results of Analysis and Interpretation:

01: brown box

According to the submission form, 5 samples and 1 control Sample were submitted; however, only 3
Samples and 1 control sample were received.

01-01 : Swab from the left rear tire (Item 1)

Presumptive testing for the presence of blood was positive.
01-02 : Swab from the left door (Item 1)

Presumptive testing for the presence of blood was positive,
01-03 : Swatch from the driver's door (Item 1)

Presumptive testing for the presence of blood was positive.
01-04 ; Contro! from front door (Item 1)

No stains having the appearance of blood were observed.

03 ; 6x9 white envelope

03-01 : Buccal specimen from suspect (Item 2)
Item was collected to be used as a reference.

Investigative Leads and Requirements for Further Analysis:

For comparison purposes, please submit known specimens from the victim. Contact the laboratory for
instructions on the proper collection method for additional evidence.

ACCREDITED BY THE AMERICAN SOCIETY OF CRIME L ASORATORY DIRECTORS - LAB ACCREDITATION BOARD
ara COURTESY - SERVICE « PROTECTION Page 1 of 2

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ID 43
"Cage '3:24-cv00457-X-BK Document 4 Filed 02/20/24 Page 14of141 Page

GAR-1411-12607 Forensic Biology Laboratory Report January 27, 2015

Disposition;
DNA analysis will be performed on selected Stains from this case, A Separate report will be issued upon
completion of this analysis.

earliest convenience.

This report has been electronically prepared and approved by:

Flavia Schamber
Forensic Scientist
Texas DPS Garland Crime Laboratory

Page 2 of 2
/ *'Cage'3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 15 of 141 PagelD 44
(Be 25

TEXAS DEPARTMENT OF PUBLIC SAFETY

CRIME LABORATORY
402 W IH 30
Garland, TX 75043-5902 -
Voice 214-867-2190 Fax 24 4-851-2154
GarlandCrimeLab@dps.texas.gov

COMMISSION
STEVEN ¢. McCRAW A. CYNTHIA LEGN, CHAIR
DIRECTOR MANNY FLORES
DAVIO G. BAKER FAITH JOHNSON
ROBERT J. BODISCH, SR. STEVEN P, MACH
BEPUTY OME CIOS Laboratory Case Number: GAR-1414-4 2607 "RANDY WATSON

DNA Laboratory Report

Issue Date: March 31, 2015
Karen Wise

Dallas County District Attorney's Office
133 N Riverfront Blvd
Dallas, TX 75207

Agency Case Information: Dallas County District Attorney's Office - F0556570S
Offense Information: Robbery - 8/28/2005 - Dallas County

Suspect(s): GAINES, ERNEST EDWARD (DOB 06/01/1966)

Victim(s): CANTU, HQC
Requested Analysis: Perform forensic DNA analysis. . : _

Perform Post-conviction DNA analysis on the items submitted Pursuant to Court Order F 05-56570-S in

the 282nd Judicial District Court, Dalias County, Texas, Please refer to the previous Forensic Biology
Laboratory Report dated January 27, 2015. :

Evidence Description, Results of Analysis and Interpretation:

Portions of the items were extracted by a method which yields DNA.

The DNA isolated was analyzed using STR (Short Tandem Repeat) PCR (Polymerase Chain
Reaction) analysis, The following loci were examined: D8S 1179, D21$11, 07S820, CSFiPO,

D3S1358, THO1, D13$317, D16S539, 0281338, D198433, VWA, TPOX, D18S51, Amelogenin,
DS5S818, and FGA,

01-01 : Swab from the left rear tire (Item 1)

The DNA profile is consistent with an unknown female contributor.
01-02 : Swab from the left door (Item 1)

No interpretable DNA profile was obtained.

01-03 ; Swatch from the driver's door (Item 1)
No interpretable DNA profile was obtained.

03-01 : Buccal specimen from Suspect (Item 2)
The DNA profile was used for comparison purposes.

Disposition;

Remaining samples of the items analyzed for DNA will continue to be retained frozen to preserve the
biolagical constituents.

We are unable to retain the remainder of th

e evidence. Please make arrangements to pick it up at your
earliest convenience. .

ACCREDITED BY THE AMERICAN SOCIETY OF CRIME LABORATORY DIRECTORS - LAB ACCREDITATION BOARD
Tw OPS 02.05.15

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', “Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 16 of 141 PagelD 45

GAR-1411-12607 DNA Laboratory Report March 34, 2015

This report has been electronically prepared and approved by:

Nicole Mullins I
Forensic Scientist

Texas DPS Garland Crime Laboratory

Page 2 of 2
CRIME LABORATORY

LAB-06 Rey.01 (05/2013) p.t issued by: OAC

]New [ JAdditional C]JResubmission
(Corrected Copy

Agency Dallas County District Attorney

Laboratory Submission Form

Agency Case # F05-56570-S

Offense AGG ROBBERY DW

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Date Submitted:11/10/2014 - JTrax Evid #

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Offense Date 08/28/2005

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Offense County Dallas

Case Contact Person Information

Title/Full Name Karen Wise - Assistant D.A.

Badge Number

Physical Address 133 N Riverfront Blvd., LB19

City, State, Zip Dallas, TX 75207-4399

Phone ERE, Fax 214-653-3643

Individual (S=Suspect, V=Victim, E=Elimination)

$/V/E|Name (Last, First, Middle)

| Sox Race DOB State Driver License #

|

State ID #

Gaines, Ernest Edward

|B M | 06/01/1966

SID# 04143737 |

Cn, ig

Description of Evidence S ubmitted (Attach Brief Synopsis/Offense Report For All Cases Except Drug/Blood Alcohol Cones)
Agency # of Description of Evidence Sou Type of Exam(s) |
Item # Items Please indicate it item Is Probable Cause oe Requested
Sealed box Dallas PD Property Tag# 381410-4 containing 5 bload samples and
{ 1 _ {1 control sample Dallas PD property room see Court Order

Attention: James Nichols

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Property Unit Receipt

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. Cage Pp ; Dallas Police Department

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Retain

Receipt Date: 11/10/2014 Officer(s): Cynthia Schoelen (0000)
; i Dallas Police Department
Clerk: Cindy Schoelen Coordinator 2
(214)670-8318
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ICN Tag Article Service No
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|0044727-0103014 381410A CONTROL 693330P
Signature:
Received By Date / Time
Signature Title
Address Telephone

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Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 19o0f141 PagelD

TEXAS DEPARTMENT OF PUBLIC SAFETY Cob Cane __GAR1411-42607 '
CRIME LABORATORY Analyst Nicole Mirtins
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STR Data Worksheet
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door
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1¢ evidentiary profiles wo evaluated priar to comparison to known samples. All profiles were evaluated for CODIS eligibility. Initials: Ai
onclusions: 11-01 single source unknown femain *
01-02, 01-03. no interpretable profile
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' Offense County Dallas

i
Agency Case # F05-56570-S
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| _ Case Contact Person Information
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CRIME LABORATORY

Laboratory Submission Form

LAB-06 Rev.04 (05/2013) p.1 issued by: CAC

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Agency Dallas County District Attorney

Offense ' AGG ROBBERY DW

Offense Date 08/28/2005

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Date Resubmited

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Bake Submitted: 01/12/2015

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Title/Full Name Karen Wise - Assistant DA.

ae

Badge Number

Physical Address 133 N Riverfront Blvd.. LB19

City, State, Zip Dallas, TX 75207-4399

Phone eae

ee st as a ee es oe |

Fax 214-653-3643

Email a

Individual (S=Suspect, V=Victim, E=Elimination)

S/V/E|Name (Last, First, Middle) Sex | Race Dog State| Driver License # State ID # i
$ Gaines, Ernest Edward B | M | 06/01/1966 SID# 04143737
;. +
Description of Evidence Submitted (Attach Brief Synopsis/Offense Report For All Cases Except Drug/Blood Alcohol Cases)
Agency # of Description of Evidence deci Type of Exam(s) ]
ltam # items Please indicate if item is Probable Cause . Requested
% 1 | buccal swab kit from Ernest Gaines SID# 04143737 Ernest Gaines seé Court Order

Attention: James Nichols

‘Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 210f141 PagelD 50

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JOSYSHIOAA B}EQ YIS
SLIZIE 3]eg -
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Page 1 of 4

Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 29 0f141 PagelD 58
DNA BATCH REVIEW

Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 30 of 141 PagelD 59

CASE # DATE/INITIALS OF BATCH CREATOR: NIV! 2| \w| IB

DATE/INITIALS OF BATCH REVIEW: 2:13- (9 t]4—

Batch name: Rush Plare 5

Batch
Reviewer

Extraction type selected

Time/Temperature(s) noted

Extract volumes noted

Extraction

Reagent blank volume less than or equal to sarmple volume

Extraction sheets present, if needed, (Differentia/Manual/Clean-up)

|

Tube order verified

Kit lot # and expiration date present

7500 used noted and correct kit checked

Quant

Tube.order verified (if samples in tubes)

Reviewed std curve and checked for trua negatives and potentially
Inhibited samples

Positive & negative controls present

Kit lot # and expiration date present with correct kit checked

Thermal cycler used denoted

Amp

Reagent blank(s) amped at volume equivalent to largest sample volume
amped

Tube order verified (if samples in tubes)

SPANISSIS TNINT SKIS IRINA | TTR Se

§ Run retyped, reanalyzed, and reviewed
g Reasons for re-injections noted
5 Alternate injection times noted on injection list
: é Pi Reagent blanks and negative controls verified no profile
-= N/A V « OK
Edited on 08/21/13

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Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 31o0f141 PagelD 60

, Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 32 0f141 PagelD 61

TEXAS DEPARTMENT OF PUBLIC SAFETY Lab Case #
CRIME LABORATORY ~
Analyst NM NM
DNA Extraction Worksheet
LAB-ONA-07 Rev. (02/2014) p.1 lssved by: QAC Date/Time 1/28/15 4:30 PM
Qiagen [7)148043628
Organic [] Temp. _56/70_— (°C) Automated Extraction
Chelex | | . Instrument # 129
Pteohier Unknowns Additional clean-up steps must be noted
pe ee = Se wr i eh oO |
I pL | Celis/Fleld ngivL. | Raut: Volume Amplified (yL)
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03-C1-KLF-GAR-1402-01517-02-
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01-AA-01-pack 50 Negative 10
09-A2-FRS-GAR-1411-13401-04-
01-AB-01-bag 50 Negative 10
' | 10-B2-SLS-GAR-1801-00209-04-
03-AA-tape £0 0.0102 10
11-G2-SLS-GAR-1501-00209-01- j
04-AA-tape 50 Negative 10
12-D2-SLS-GAR-1501-00209-04- ;
05-AA-tape 50 Negative 10
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14-RB2-unknowns-012815 50 - Negative . 10
"Optional Note: Date listed refers to date of extraction. Refer fo other worksheets for quaniitation/am plification dates. $

Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 33 0f141 PagelD 62

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' Casé 3:24-cv-00457-X-BK Document 4. Filed 02/20/24

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PagelD 63

TEXAS DEPARTMENT OF PUBLIC SAFETY Lab Case #
CRIME LABORATORY oe
Analyst NM onyyV¥
DNA Extraction Worksheet
LAB-DNA-O7 Rev.06 (02/2014) p.1 Issued by: GAC Date/Time 2/4/15 4:30 PM
Qiagen [2148043628
Organic [}) | Temp. 56/70_. (°C) Automated Extraction
Chelex Instrument # 129
Prepfiler Unknowns(2). Additional clean-up steps must e noted
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16-F2-CLW-GAR-1501-00278-01-
02-8 50 0.438 10
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03-AS 50 Negative 10
18-H2-KPC-GAR-1407-07579-02- :
03-AB-minora 50 17.34 10 of 1:149
19-A3-KPC-GAR-1407-07579-02- 50 4.74 ; 10 of
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bit serdecta 50 0.0927 10
23-E3-NM-GAR-1501-00209-06- .
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‘24-RB3-unknowns-020415 50 Negative 10
26-RB4-unknowns-020415 500 j=——————_ Negative 10
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Refer to olher worksheets for quantitation/ampliication dates.

Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 35o0f141 PagelD 64
CRIME LABORATORY

DNA Extraction Worksheet

LAB-DNA-O7 Rav.06 (02/2014) p.1 Issued by: GAC

case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 36 of 141 PagelD 65

TEXAS DEPARTMENT OF PUBLIC SAFETY Lab Case #

Analyst NM NYY

Date/Time __2/4/15 10:30 AM

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Qiagen []
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Of-sus-CD 200 0.443 10 of 1:4.3
28-C8-KLF-GAR-1402-01517-04- a =
Dita ak 200 0.694 10 of 4:5.7
29-D8-KLF-GAR-1402-01517-02-
02-sus-DF 200 2.26 10 of 1:20
30-E8-KLF-GAR-1402-01517-02- ‘
seamicaa? 200 1.25 10 of 1:10
31-F8-gr-GAR-1306-07495-05-04-
scan 200 3.44 10 of 1:26
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33-H8-CN-GAR-1303-03075-04- 10 of
01-susCM 200 5R6 1:13.3
34-A9-FRS-GAR-1411-13101-02-
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36-C9-SLS-GAR-1501-00209-03.| ods iiakean
07-sus-LD
37-RBS-knowns-020115 200 Negative 10
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“Optional Note: Dale listed refers to date of extraction. Refer to other worksheels for quanttalonam plifcation dates.

Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 37 of 141 PagelD 66
PagelD 67

Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 38 of 141

TEXAS DEPARTMENT OF PUBLIC SAFETY Lab Case #
CRIME LABORATORY
Analyst NM NI -
DNA Extraction Worksheet

LAB-ONA-07 Rew.06 (02/2074) p.1 Issued by: QAC Date/Time 2/2/15 12:00 PM
Qiagen [7148043628
Organic Temp.___ 56/70 _(°C) Automated Extraction
Chelex Instrument # 129
Prepfiler Knowns(2} Additional clean-up Steps must be noted

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19-AA-vic-AM P 1:13.
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a-elinR 20 25.06 10 of 4:20
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49-G10-NM-GAR-1304.05088-04.| 6 O A
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; 51-RB6-knowns-020215 |. FO Negative] _ 10
“Gptonal Note: Date listed refers lo date of antaron eler to other worksheets for quantal amplification dates.

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TEXAS DEPARTMENT OF PUBLIC SAFETY -

Casé 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 39o0f141 PagelD 68

CRIME LABORATORY Lab Case #
Lot Number Record initials NM NYY
GAR-FRMONA
Range of Dates 1/29/15-2/5/15
Expiration Expiration
Reagent Lot # Date Reagent Lot # Date
EZ1 DNA Investigator Kit 148043628 7-12-15 | TE Buffer for Quant 1-7-15KL 1-7-16
(Quantifiler only)
Qiagen G2 Buffer 148031678 7-12-15 TE Buffer for Amplification 1-7-15KL 1-7-16
Sterile diH20 for G2 dilution | 1-28-45 SMD 1-28-16 Qiagen cleanup:
‘Qiagen Proteinase K 148031832 7-12-15 | | QiAamp DNAKit [Pre
‘Qiagen ATL Buffer” 148017636 | 712-15. 1 | Febiter he eaten
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Qiagen MTL Buffer 145052615 7-12-16 Microcon concentration:
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TEXAS DEPARTMENT OF PUBLIC SAFETY Lab Case #

CRIME LABORATORY 4

Analyst NM WIM
Quantitation Load Sheet ag

Lab-DNA-13 Rev.04 (10/2012) p.4 Issued by QAC Date 2/9/15
Quantifiler Kit Lot # 1405188

CJ Quantifiler Duo Kit Expiration Date 6/11/15 Automated Setup

7500# 67_ 139

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33-H8-CN- |41-G9-FRS/] NM-GAR.

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c || STO13 STD23 | 01517-02-| 00209-01- | 07579-02- 1305- | 00209-01- | oo886-13-| knowns-
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GAR-1411- CLW-GAR, 24-RB3- | GAR-1414- GAR-1407- GAR-1501-
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Document: 02-08-15nm (Absolute Quantification)

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‘ Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24

Page 43 of 141 PagelID 72

TEXAS DEPARTMENT OF PUBLIC SAFETY Lab Case #
CRIME LABORATORY
Analyst NM_ Wirt
Amplification Worksheet
Lab-ONA-08 Rov.068 (08/2014) 9.1 Issued by: QAC Date 2/9/41 5
' Q Identifiler Plus Kit Lot # 1409087
C Minifiler Kit Expiration Date 3/29/16 Automated Setup
C) Yfiler Oy23 Thermal Cycler # 46 139
1 2 3 4 5 6 7 4 5 10 V1 42
01-A1-GIG- | 09-A2-FRS- 22-D3-NM- | 25-D8-KLF- "| 44-B10-NM-
GAR-1401- | GAR-1411- ee GAR-1501- | GAR-1402- ae GAR+1501-
|[00735-04-01-) 13101-01-01.) "VOTE" | 00686-01-08-| 01517-02-02- o2oiis | 00688-13-20-
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02-B1-GIG- | 10-B2-SLS- | 15-£2-GiG- | 23-E3-NM- | 30-E9-KLF- | 38-09-CLW-| 45-C10-NM. a
GAR-1401- | GAR-1504- | GAR-1412- | GAR-1501- | GAR-1402- | GAR-1501- | GAR-1504-
00735-04-01-| 00203-01-03-] 14089-13-01-| 00209-06-08-| 01517-02-03-| 00278-01-01-| 00686-13-24.
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03-C1-KLF- | 11-C2-SLS-/ 16-F2-CLW-| 3.05, | S1-FBgr- | 39-E9-CLW-| 46-D10-NM-
GAR-1402- | GAR-1501- | GAR-1501- unknowns. | CAR*1306- | GAR-1601- | GAR-1501-
]01517-02-05-| 00209-01-04-| 00278-01.02. 020415 | 07495-08-01-| 00278-02-01-| o06a6-13-22.
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GAR-141t- | cwnae | GAR-1407- | GAR+1401- | GAR-1303- | GAR-1407- | GAR-1501-
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TEXAS DEPARTMENT OF PUBLIC SAFETY

CRIME LABORATORY labCase#

h Analyst NM : NM
Amplification Worksheet Date. 2/14/15

LAB-DNA-08 Rov.05 (10/2912) p.1 Issued by: GAC

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OyYfiler Thermal Cycler # 134

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06-F1-FRS-

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02-door

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21-C3-NM-

GAR-1501-

00686-01-
04-seat

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35-B9-SLS-
GAR-1501-

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44-B10-NM-
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TEXAS DEPARTMENT OF PUBLIC SAFETY
CRIME LABORATORY

Amplification Worksheet

LAB-ONA-28 Rev.05 (102012) p.1 Issued by OAC

Rlidentifiler Plus Kit Lot # 1409087
COMiniFiler Kit Expiration Date 3/29/16
OYfiler Thermal Cycler # 134

Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 45of141 PagelD 74

Lab Case #

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Exhibit 'C' Clerk's Record page 1~7:;

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TRIAL COUR™ CAUSE NUMBER: F05-56570-S

IN THE 282"? JUDICIAL DISTRICT COURT OF DALLAS COUNTY, TEXAS

HONORABLE ANDY CHATHAM, JUDGE PRESIDING

ERNEST EDWARD GAINES, PLAINTIFF (APPELLANT)
vs.

THE STATE OF TEXAS, DEFENDANT (APPELLEE)

APPEALED TO THE: 5™ COURT OF APPEAL

ATTORNEY NAME: John Tatum

ATTORNEY ADDRESS: 990 S. Sherman St Richardson, Texas 75081

ATTORNEY PHONE: 972-705-9200
ATTORNEY FAX: 972-690-9901

ATTORNEY EMAIL: jlatwnlaw(@gmail.com
ATTORNEY BAR NO: 19672500
ATTORNEY FOR APPELLANT: ERNEST EDWARD GAINES

DELIVERED TO THES™ COURT OF APPEAL

ON: November 03, 2015 BY: JAMEKA RAND DEPUTY DISTRICT CLERK

APPELLATE COURT CAUSE NO: 05-15-01144-CR
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THE STATE OF TEXAS OF DALLAS COUNTY, TEXAS
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The State of Texas §

County of Dallas §

Inthe 282° JUDICIAL DISTRICT COURT of Dallas County, Texas
. Honorable ANDY CHATHAM Judge Presiding, the following proceedings were held and the following

instruments and other papers were filed in this cause, to wit:

TRIAL COURT CAUSE NUMBER: F05-56570-S

STATE OF TEXAS In The 282" JUDICIAL DISTRICT COURT
VS.

ERNEST EDWARD GAINES DALLAS COUNTY, TEXAS

.. _. Case’3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 85 of 141 PagelD 114

Exhibit 'D' Clerk's Record Trial Court's Findings Of Fact page 336-338.

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Case’ 3:24-cv-00457-X-BK Document4 Filed 02/20/24 Page 87 0f141 PagelD 116

Court of Appeals No. 05-15-01144-CR
Trial Court No. F05-56570-S

THE STATE OF TEXAS § IN THE 282%” JUDICIAL
V. § DISTRICT COURT
ERNEST EDWARD GAINES § DALLAS COUNTY, TEXAS

TRIAL COURT’S FINDINGS OF FACT

The Court of Appeals for the Fifth District of Texas at Dallas has ordered
the Official Court Reporter for this Court, Patricia Holt, to file either the court
reporter’s record of the hearing on the motion for post-conviction DNA testing in
this case, or written confirmation that no hearing was conducted or recorded.

The Court finds that post-conviction DNA testing was granted in this case
on October 22, 2014.

The Court reviewed the DNA test results and entered findings on August 12,
2015, finding that had the results been available during the trial of the offense it is
not reasonably probable that the defendant, Ernest Edward Gaines, would not have
been convicted.

The August 12, 2015, findings indicated that the results of the DNA testing
were examined by the Court during a hearing held under Article 64.04 of the Code
of Criminal Procedure. The Court finds that no hearing was held concerning the
results of the DNA testing and that the finding of the Court in the August 12, 2015,
findings indicating that there was a hearing is inaccurate.

This Court entered its findings based solely on the test results without
conducting a hearing.

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Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 880f141 PagelD 117

. Casé 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 89 0f141 PagelD 118

In addition, this Court has confirmed with Ms. Holt that there is no record of
any hearing being conducted on the results of the DNA testing.

The Court therefore finds that there is no reporter's record for the official
court reporter to forward to the Court of Appeals.

The Court requests that the Court of Appeals consider these findings as
written confirmation that no hearing was conducted or recorded in lieu of written
confirmation from Ms. Holt.

The Clerk of this Court is ORDERED to immediately forward a copy of
these findings to the Court of Appeals for the Fifth District of Texas at Dallas. It is
further ORDERED that the Clerk of this Court forward a copy of these findings to
defense counsel, John Tatum, 990 South Sherman Street, Richardson, TX 75081,
and to counsel] for the State.

SIGNED this Z| day of October, 2015.

ND —
AMBEI-GIVENS-DAVIS, JUDGE

282" JUDICIAL DISTRICT COURT
DALLAS COUNTY, TEXAS

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Case. 3 24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 90o0f141 PagelD 119

ERNEST EDWARD GAINES CAUSE NO: F05-56570-S
VS. 282"° JUDICIAL DISTRICT COURT
THE STATE OF TEXAS DALLAS COUNTY, TEXAS

BILL-OF COSTS CERTIFICATION
I, Felicia Pitre, Clerk of the District Courts of Dallas County, Texas do hereby
Certify that the following documents constitute costs that have accrued to date,
November 04, 2015as listed in the Dallas County mainframe for the above captioned

cause.

THE STATE OF TEXAS
GOUNTY OF DALLAS

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Exhibit 'E' Appellant's Motion To Hold Gase Cause Number In Abeyance
BEFORE Issue The Mandate In This Cause Number Filed on July 25, 2022.

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Sth Circuit Bar-Code Cover Sheet

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File name: 000459280.pdf
Docketed by: CyrilMorise

Bar Code ID: 459280

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July 05, °2022
To; United States of Appeals i
Fifth Circuit
Office of the Clerk
ATTN: Lyle W. Cayce Clerk,
600 S. Maestri Place
New Orleans, Louisiana /0130-3408

From: Mr. Ernest E. Gaines #1364192
Preston E. Smith Unit HS/E-130B
1313 County Road 19
Lamesa,:Texas 79331

RE: No. 21-10897 Gaines v. Lumpkin
USDC No. 3: 20. CV-3598-X

Dear Lyle W. Cayce Clerk,
f: m requesting that the following Appellant's

Motion | Te Hold Case Cause Number In Abeyance Before Issue The Mandate
In This Cause Number be filed with this Court. I'm also asking thatr
Rule 2 of Appellant Procedure be suspended for copies, because appellant

is in forma pauperis inidgent, this court shall provide services free

of charge to inidgent persons under Texas Legislater Statues Sec, 593 011i

Add at Act 1991, /2nd Leg., ch. 76, Sec. 1, eff., Sept, 1, 1994. I'm
sending a stamped enevbope, so that a filed stamped sealed copy of

this petition be send to appellant for appellant copy. Thank you eae your
assistance with this matter!

Sincerely, '

Appellant's Pro Se

C.C.:File.

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“Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 94o0f141 PagelD 123

United States Court of Appeals —

for the Fifth Circuit

No. 21-10897

ERNEST EDWARD GAINES,
Petitioner-Appellant,
versus
Bobby Lunmpin, Director, Texas Department of Criminal Justice,
Correctional Institutionals, Division; NFN Babcock, Warden; NEN
Garrett, Officer,

Respondents~-Appellees,

Appeal from the United States District @ourt
for the Northern District of Texas
USCD No. 3:20-CV-3598

APPELLANT'S MOTION TO HOLD CASE CAUSE NUMBER IN ABEYANCE BEFORE ISSUE=
THE MANDATE IN THIS CAUSE NUMBER

COME NOW, Ernest Edward Gaines, Appellant's in forma pauperis inid-
gent proceed in this case cause number, pursuant to Rule 8(c) Federal Rules
of Appellant Procedure (See also: Rule 38, Fedérai Rules of Criminal Pro-
cedure), file this Appeblant's Motion To Hold Case Gause Number Iv aay
ance Before issue The Mandate In This Cause Numher, Appellant's case cau-
se in abeyance for the following reasons:

I.

Appellant's request to, this Court, Appellant's Motion To Hold Case
Cause Number In Abevance Before Issue The Mandate In This Cause Number,
because appellant need to go back to the State Court to exhaust all
claims issues that was not raised on the State Jevel Post-Conviction

Habeas Corpus 11:073 scientific evidence, newly discovered evidence, and

actual innocence to exhaust all State Court remedies:

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The States uses mandatory Lauguage in connection with requiring substanties =
predicates demands a conclusion that the Statechas created a protected libertyvin-~
terest. See Hewit v. Helms, 460, 471-472, 10GtS.Ct. 864, 871 (1983)(holding the use
of mandatory Language combined with requiring specific substantive predicates demands
a conclusion that the State has created a protected liberty interest); Kentecky Dept.
of Correction v. Thompson, 490 U.S. 454, 462-463, 109 S.Ct. 1904, 1909 (1989) (hold-
ing a State creates a protected liberty interest by placing substantive limitations
on official discretion. Having determined that, the State created atid suffied acquir-
ed, a liberty interest in freedom from confinement further demands that, the Due Pro-
cess aud @€tthe 14th Amendment to the U.S. Constitution attaohed the protections *
therefore. In other words once the State created liberty interest is obtained, the
Due Process protections and requirements come right along sidey In this case Article/-
Chapter 64.01.-64.05 is the DNA requirements are lawful and meet reJevant criteria
moves over, it was rescinded without notice and withont an oppurtunity to be heard.
S@e Ellis v. Director of Colombia, 84 F3d 1413, 1417 (DC Cir, 1996)(holding The Sup-
reme Court's settled approach tothe DUE Process Clause concerning liberty interests,
turn on the language of the regulations); Ex Parte Geiken, 28 S.W.3d, at 556 (hold-
ing if a liberty interest in created, due process requires notice aaa anmeanangful
opportunity to be heard. Kentucky Doc, 490 U.S. at 462, 109 S.Ct. 1904 (holding most
prison procedural. due process turn om lanuage creating substantive predicates ta guide
discretion. La Chance v. Erickson, 552 U.Ss 262, 266, 118 S.Ct, 753, 756 (1998) (Hold-
ing the Cow-t of due process is the right to notice and meaningfiiktopporunity to be
heard.

* Appellant's only has a statittory right to a hearing ££ the trial court orders
DNA testing and the results of such testing are then completed. Tex. Code Crim.
Proc. Art. 64.04. The DNA testing was ordered on September 25, 2014 Order Granting
Ernest Gaines Motion For Post-Conviction DNA Testing, Clerk's Record Vol.1-300,
and see Trial Court's Findings of Fact Clerk's Record Vol.1-336-337 that the

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D ehie Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 96 of 141 PagelD 125

August 12, 2015, findings indicated that the results of the DNA testing were examined
by the Court during a hearing held under article 64.04 of the Code of Criminal Proce
dure, the Court finds that no hearing was held concerning the results of the DNA test-
ing and thatthe findings of the Court in the August 12, 2015 findings indicating that
there was a hearing is inaccurate. This Court entered its findings base solely on the
test results without conducting a hearing.on October 21, 2015. This clearly violated
appellant's due process, a right to be representation by counsel at the hearing, a
right for court appiontted counsel to file MotionsFor A indedendent: ExpesssWitness,
Motion To Surpress DNA Testing, and Motion For New Trial, because the trial coutt
/State's Expert Witness filed a false DNA Testing Results Report to thiscCourt,
because appellant has a pro bono pathologist Harry J. Bonnell, M.D. affidavit from
review and ana&yzed forensic scientist Nicole Mullins DNA Testing Report that was
render an analysis and report nor am I commenting on the false report of the. 282nd
Judicial Court wherein it stated that a hearing was held but that was untrue, on
June 09, 2022. This violates appellant right to cross-examine/confrontation clause
of the United States Contitution Six Amendment, and due process.

* Appellant'was not put on notice of the Article/Chapter 64.04 hearing,
this violates his due process rights.

* Appellant was not present at the Article/Chapter 64.04 which violates
his rights to be heard and due process rights to attended the Article/-
Chapter 64.04 hearing.

* Appellant court appiontedi counsel Julie Lesser was not present at the
Article/Chapters64.04 hearing to representation appellant as counsel viol-
attan of the Six Amendment of the United States Constitution rights for
Representation at any proceeding. See U.S. v. Cronic, 466 U.S. 648, 80
L.Ed. 24 657, 104 S.Ct. 2039..

* Appellant court appninted counsel Julie Lesser was not present at the

Article/Chapter 64.04 hearing to object to the forensic scientist Nicole

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Mullins false DNA Testing Results Report that was not entered in to the
Clerk's Reporter records, because there was nat a Article/Chapter 64.04
hearing held where a trial transcript/Clerk's Record written by a court
reporter, which violates a complete record so that appellant have the
trial], transcripts/Clerk's record te refer te for actual violation of

the appellant constitutional rights.

* Appellant court apphonted counsel Julie Lesser was not present at the
Article/Chapter 64.04 to cross-examination/Confrontation Clause to the
false report/DNA Testing Results Report. The Forensic Scientist Nicole
Mullins entered a false report, that the Judge held a closed hearing by
himself an made a independent review on false evidence that created a
miscarriage of justice violates due process in the interests of justice.
Forensic Lab Report Confrontation Clause, 134: S.Gt. 2705.

* Appellant Court appionted counsel Julie Lesser failed to develop, and
present to the Judge the DNA Testing Results/falsifed report of certain
allegedly exculpatovy forensic evidence that was a false report given
to the Judge for a independent review on a false report/DNA Testing Rea:
Results on forensic scientist Nicole Mullins, which causes the Judge to
make a decision with a falsifed report causeing a miscarriage of justice
in the interests of justice on standard of review on post-conviction
review of habeas corpus applications/trial court's findings of fact
clerk's record Vol.1-336-337, the convicting court is the "orignial
factfinder," and this Court is the ultimate factfinder. Ex acre Reed,
271 S.W.3d 698, 727(Tex.Crim.App.2008). We generally defer to and accept
the convicting court's findings of fact and conclusions of Law when they
are supported by the record, Id. However, “[wlhen our independent review
of the record wévealsrthatiithe judge's findings and conclusions are not

supported by the record, we may exercise our authority to make a contrary

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/ « *, ‘Case '3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 98 of 141 PagelD 127

or alternative findings and conclusions."Id.

* Appellant has denied his right to discovery Rule(6), record expansion
Rule(7)), and evidence hearing Rule(8) was filed with this Court, which
shows the DNA testing results was not filed in the trial court eeporter
eecord trial transcripts/clerk's' record, which this denied appellant a
complete record to file to this Court. It is clear that the record is not
complete; so that existing briefs cannot cite to the complete record as
required by the rules of appellate procedure. Tex.R.App.P.38.1, according-
ly, because the record is not complete, the existing briefs, will need |
to be replaced by amended briefs once the complete record is filed.

* Appeliaat shows the trial courtiabuse of discretion by not granting «
appellant request for Motion To Hold A»Hearing Pursuant To Under Article
64.04 TexassGodeiafi,Gtiminal Procedure, (1) articulated a valid legal
claim in his motion (2) produced evidence or pionted to evidence in the
trial record that substantiated the legal claim (DNA testing results re-
ord) end (3) showed prejudice to his substantial rights under Tex.R.App.-
P. 44.2,

wsAppellant enter into record the affidavit of Wavey J. Bonnell, M.D.
pro bono patholgy reviewed and analyzed forensic scientist Nicole Mullins
DNA testing results report/falsified report filed with the 282nd Judicial
Qistrict Court Dallas County wherein stated that a hearing was held that
was untrue,,the false report was entered andjaff£idayitOwritten on June
09, 2022, and curriculum vitas education training see Exhibit 'A'.

WHEREFORE, PREMISES CONSIDERED, Appellant's pray that the Appellant's
Motion To Hold Case Cause Number in Abeyance Before Issue The Mandate Ii

This Cause Number be [GRANTED] by this court, order the clerk of this «

court send a order verify this order to appellant.

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EXECUTED on this J day of fi , 2022.

Respectfully Submitted,

Appellant's Pro Se
CERTIFICATE OF SERVICE
I, Ernest Edward Gaines, hereby certify that a true amd correct copy of the above
Appeilant's Motion To Hold Case Cause Number In Abeyance Before Issue The Mandate In

This Cause Numbee:-was service on the Dallas County District Attorney Office on the

_S day of fall » 2022.

UNSWORN DECLARATION

Respectfully Submitted,

Appellant's Pro Se

I, Ernest Edward Gaines, swear under the penalty of perjury that this motion

is correct to the best of my knowledge.
we

EXECUTED on this 7 day of , 2022.

Respectfully Submitted,
dnl)
Appellant's Pro Se
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me ;
[913 Count: bead 19

Lamesa, TX. L¢45/

c.Cc.:File.

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sel 3/sH

| ¥SN / UBARBOS
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Exhibit 'F‘ Court appointed counsel letters sent to Ernest Gaines.

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4 ‘Case °3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 102 of 141 PagelID 131 '

CAUSE NO. F05-56570-S

Wine SYALE Of YEXAS § UN LHe 282 JUDIG

. §
VS. § DISTRICT COURT
ERNEST GAINES § | DALLAS COUNTY, TEXAS

MOTION FOR POST CONVICTION FORENSIC DNA TESTING
AND DEFENDANT?’S SUPPORTING AFFIDAVIT

TO THE HONORABLE JUDGE OF SAID COURT:

NOW COMES the defendant in the above-entitled and numbered cause,
by and through counsel, pursuant to Chapter 64 of the Texas Code of Criminal
Procedure, and would show unto the court in support of this Motion for Post
Conviction Forensic DNA Testing the following:

i,

‘There was evidence containing biological material secured in relation to the
above-entitled and numbered cause number. This evidence was in the possession

of the State during the trial of the offense.

Il.

The evidence, to the best of defendant’s knowledge, was-not previously
subjected to DNA testing or, although previously subjected to DNA testing,
can be subjected to testing with newer testing techniques that provide a
reasonable likelihood of results that are more accurate and probative than the
results of previous testing. There is a substantial likelihood that DNA testing of
the biological evidence would show that the defendant is not guilty of this charge.

. . Case'3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 103 of 141 PagelD 132

Ii.
Idenrity was and is $a. issite in this case, Tris g reasonable probability thar
the defendant would not have been coavicted if €xculpatocy results weceobiained

through DNA testing. This evidence would exclude a person from the group of
persons who could have committed this offense.

IV.
Defendant makes this request for DNA testing in the interest of justice, and
this request is not made to unreasonable delay the execution of sentence or
administration of justice.

WHEREFORE, PREMISES CONSIDERED, the defendant herein
would respectfully pray that this court order the requested DNA tes ting to be
done. Defendant prays for such other and further relief as to which the defendant

may be entitled. ;

Respectfully submitted,

Julie Doucet

Assistant Public Defender

133 N. Riverfront Blvd., LB 2
Dallas, Texas 75207

Phone: 214-653-3550

Fax: 214-653-3539

Texas Bar No. 00787389

Attorney for Defendant

"Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 104 of 141 PagelD 133

_ CERTIFICATE OF SERVICE

‘This ts to certity that a trie and correct capy nt the ahove motion was

rei on the Dallas County District Attorney’s office on the _/3 day of
i i Mal 5 2014.

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No. F05-56570

j FILED

THE STATE OF TEXAS

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GOUNTY OF DALLAS § SWORY ALCL UAV dtc
LL ASV

I,ERNEST EDWARD GAINES, I'm over the age 18 of sound mind an

ave no disability capable of making this statement under duress .
nor am I being forced or coerced in any way. I lave personal know-
ledge of the facts written in this statement. I understand that

if Illie in this statement.I may be Keld criminally responsible,

I swear under the -penalty of perjury the following is true and c-
correct ‘to the best of my knowledge. This statement is true.

The Forensic DNA Testing pursuant to CHapter 64 of the CODE OF
CRIMINAL PROCEDURE will show my innocence by the following:

(1) ALL fingerprints, Saline prints, and foot prints on steering
wheel, gearshift, dashboard, and console of the victim's vehicle

eae at crime scene theluding DNA Testing, biological and scienti-
fic tests for Defendant's DNA in order to prove his innocence.

(2) All blood testing, and hair samples testing because Defend»); .
ant's was injuried on his left arm elbow bleeding badly August 28,
2005 accident in his truck. See Iin-Take Book-In Dallas County Jail

- Lew Sterrat=Dallas, Texas required nurse attendanoa first-aid band-

ages on left injutied arm elbow August 28, 2005. To ace if any of Cells
Defendant's blood or hair sample is in the victim's vehicle car 5

DNA Testing, biological, and scientific tests in order to prove

Defendant's innocence.

CONCLUSION AND PRAYER

Defendant's request that this Court find there are controverted

previously, unresolved matters of facts "material" to the legality

-1-

- Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 106 of 141 PagelD 135

of Defendant's confinement and either through a hearing where evi-
dence may. be prégentéd Oc fhcough an ordéL enter findings of fFacks

and conclusion of law and recommend that mofion should be granted

by the Court.

UNSWORN DECLARATION

‘1, ERNEST EDWARD GAINES, Defendant Pro-Se in this cause, state the
Following under the penalty of acaihuey: I am a prisoner, #1364192
currently incarcerated in the Michael Unit in Texas Department Of
Criminal Justice in Anderson County, Texas. I am duly qualified
and sudhoeiaed in all respect to make this unsworn declaration. I

have read the foregoing Sworn Affidavit, and declare that I have

personal knowledge of the facts contained therein and said facts

are true and correct.

EXCUTED in Anderson County, Texas, pursuant to Article 132.001 et.

seg., Texas C.P.R.C.. and 28 USC) § 1745, on this 2a day of July,

Respectfully Submitted,

ERNEST EDWARD GAINES
Defendant Pro-Se
TDCJ-ID No.#1364192
Michael Unit

2664 FM 2054
Tennessee Colony, TX 75886

2014.

CERTIFICATE OF SERVICE

I, ERNEST EDWARD GAINES, hereby cerifty that a true and correct

of this motion was served on Gary Fizsimmons District Clerk Frank-

¥owly Criminal Bldg. 133 N. Riverfront Blvd. Dallas, Texas 75207.

“+. Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 107 of 141 PagelD 136

EXCUTED on this BF aay of July, 2014,

Respectfully Submitted,

ERNEST EDWARD GAINES
eeeresne Pro-Se

TDCJ -ID No.

Michael uni ee e4t92

2664 FM 2054

Tennessee Colony, TX 75886

c.c on July AaB » 2014,

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‘+ Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 108 of 141 PagelD 137

CAUSE NO. F05-56570-S

THE STATE OF TEXAS § IN THE 282"4 JUDICIAL

VS. § DISTRICT COURT
ERNEST GAINES § DALLAS COUNTY, TEXAS

ORDER APPOINTING COUNSEL UNDER CHAPTER 64.01

The Defendant in the above numbered and styled cause has informed the Court that
he wishes to submit a motion for post-conviction DNA testing pursuant to Chapter 64 of
the Texas Code of Criminal Procedure, The Defendant has also requested the appointment
of counsel. Having determined that reasonable grounds exist for this motion to be filed and
that Defendant is indigent, the Court hereby appoints Julie Doucet, Dallas County Public
Defender’s Office, 133 N. Riverfront Blvd., L.B.2, 9t Floor, Dallas, Texas, 75207, as counsel
to represent the Defendant.

It is therefore ORDERED that Defendant’s request for appointment of counsel is

GRANTED.

Signed this 13 day of August, 2014.

NaZe

Madge Preqin 2)

ORDER APPOINTING COUNSEL UNDER CHAPTER 64.01 PAGE SOLO

CAUSE NO. F05-56570-S

STATE OF TEXAS § IN THE 282™ JUDICIAL
§
v § DISTRICT COURT
§
ERNEST GAINES § DALLAS COUNTY, TEXAS

COURT’S NOTIFICATION OF REQUEST FOR FORENSIC DNA TESTING

The Defendant in the above numbered and styled cause number has filed a motion with this
court for forensic DNA testing pursuant to Chapter 64 of the Code of Criminal Procedure, A copy
of the Defendant’s motion is provided along with this notice.

Tn accordance with Article 64.02 of the Code of Criminal Procedure, Craig Watkins, the
District Attorney of Dallas County, Texas, or his designated assistant District Attorney, is hereby
ORDERED to deliver to the Court the evidence designated in the Defendant’s motion, along with a
description of the condition of the evidence, or explain in writing to the Court why the evidence -
cannot be delivered to the Court.

The State’s response shall be filed with this Court no later than the 8” day of October, 2014.

SIGNED this \s day of August, 2014,

Jidge Presidfag

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DALLAS COUNTY

Public Defender’s Office

August 15, 2014

Mr. Emest Edward Gaines, #01364192
Michael Unit

2664 FM 2054

Tennessee Colony, TX 75886

Dear Mr. Gaines,

The Judge for the 282" Judicial District Court has appointed Julie Doucet to represent
you on your request for post-conviction DNA testing.

As a result, Ms. Doucet has filed a Motion for post-conviction DNA testing on your
behalf and notified the Court. Enclosed are copies of the Order, Motion and Court’s
‘ Notification. Please retain these copies for your records.

The State should file a response to the Motion by October 8". We will forward you a
copy of the response once it is filed.

With kindest regards,

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LaKisha Camese, CRP
Paralegal for Julie Doucet

Enclosures (3)

Ic/JD

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‘Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 111 of 141 -PagelD 140

DALLAS COUNTY

Public Defender’s Office

» September 22, 2014

Mr. Emest Edward Gaines, #01364192
Michael Unit

2664 FM 2054

Tennessee Colony, TX 75886

Dear Mr. Gaines,

' Thank you for your recent correspondence dated September 11, 2014 and the information
contained in your letter.

Ms. Doucet will make the appropriate request(s) for expert assistance when, and if, it
* becomes necessary and she has the legal basis to do so at the appropriate time. It is premature to
do so at this time since we don’t even know what evidence, if any, has been retained by the
police agency, SWIFS, and the evidence registrar for Dallas County.

However, we will keep you updated as your case progresses.

With kindest regards,

To fshn Caprese

LaKisha Camese, CRP
Paralegal for Julic Doucet

Ic/JD

“Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 112 of 141 PagelD 141

DALLAS COUNTY

Public Defender’s Office

October 8, 2014

Mr. Ernest Edward Gaines, #01364192
Michael. Unit

2664 FM 2054

Tennessee Colony, TX 75886

Dear Mr. Gaines,

Enclosed is a copy of the State’s response to your motion for post-conviction DNA
testing. Please retain this copy for your records.

As you can see, the State agrees that you meet the requirements for testing. We are
working out the details for the order and will keep you posted.

Also, please be adviskd that someone will be coming to take a buccal swab from you- it
looks like a really long q-tip that is swabbed on the inside of your mouth. Please cooperate with
them- without talking about your case- and let us know when that has been done. This means
that you will need to sign the envelope after they seal the swab from the inside of the envelope.

We will keep you updated.

With kindest regards,

LaKisha Camese, CRP
Paralegal for Julie Doucet

Enclosure (1)

Ic/JD
Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 113 of 141 PagelD 142

DALLAS COUNTY

Public Defender’s Office

November 11, 2014

Mr. Ernest Edward Gaines, #01364192
Michael Unit

2664 FM 2054
Tennessee Colony, TX 75886

Dear Mr. Gaines,

Enclosed is a copy of the Order granting your motion for post-conviction DNA testing.
Please retain this copy for your records.

The.evidence is being transferred to the Texas Department of Public Safety (DPS) and we
will keep you updated as we have more information.

With kindest regards,

Fh hiohe. (lawneae

LaKisha Camese, CRP
Paralegal for Julie Doucet

Enclosure (1)
Order Granting Motion for Post-Conviction DNA Testing

Ie/JD

Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 114 o0f141 PagelD 143

DALLAS COUNTY

Public Defender’s Office

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July 15,2015

Mr. Emest Edward Gaines, 401364192

Michael Unit

2664 FM 2054

Tennessee Colony, TX 75886 sz
Re: State of Texas vs. Ernest Edward Gaines, F05-56570-S

Dear Mr. Gaines,

Enclosed are copies of the Texas Department of Public Safety Crime Lab reports dated
January 27, 2015 and March 31, 2015. Please retain these copies for your records.

Based on these reports, we expect the Court will enter findings that, had this information
been available, it is like you would still have been convicted.

We will keep you updated.

With kindest regards,

CT okere (oeneame»

Lakisha Camese, CRP
Paralegal for Julie Lesser

Enclosures (2) :
Texas Department of Public Safety Crime Laboratory Report dated January 27, 2015 (2

pages)
Texas Department of Public Safety Crime Laboratory Report dated March 15, 2015 (2

pages)

‘ as Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 115 of 141 PagelD 144

DALLAS COUNTY

Public Defender’s Office

August 12, 2015

Mr. Ernest Edward Gaines, #01364192
Michael Unit

2664 FM 2054

Tennessee Colony, TX 75886

Re: State of Texas vs. Ernest Edward Gaines, F05-56570-S
Dear Mr. (saines,

Enclosed please find the Article 64.04 Findings on the pending Chapter 64 motion. As
anticipated, the Judge determined that had the results been available at trial the outcome would
. have beenthe same. —

In zeference to your July 29, 2015 letter, the issues you raise are not Chapter 64 issues.
Chapter 64 only addresses DNA testing.

~

If you would like to appeal the Findings entered today, you must notify the clerk of
the court within 30 days by sending notice directly to the clerk at:

282" Judicial District Court
. Clerk of the Court
' Frank Crowley Courts Building
133 N. Riverfront Blvd., Lockbox 32
Dallas, Texas ‘75207

Please be aware that any appeal will be limited to the specific Findings made by the
Judge base»i on the lab reports.

Best of luck to you in the future.

Sincerely, *

uu Leder

Julie Lesser
Assistant Public Defender

Encl.

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3 3 . Case 3:24-cv-00457-X-BK Document 4 Filed careorea\ Page 116 of 141 PagelD 145

DALLAS COUNTY —

Public Defender’s Office

December 19, 2019

Mr. Ernest Edward Gaines, #01364192
Michael Unit

2664 FM 2054

Tennessee Colony, TX 75886

Re: State of Texas vs. Ernest Edward Gaines, F05-56570-S

I am in receipt of your recent letter. Please be aware that I have provided you with a
complete copy of all the documents I have in your file.

Unfortunately, I will not be able to assist you with any mandamus, as my representation
of you has concluded. The DNA results were reported alinost five years ago, they were
presented to the Court and the Court issued Article 64.04 Findings in this case on August 12,
2015, a copy of which were provided to you at that time. There is no requirement that the
forensic scientist provide live testimony.

Should you desire additional information, you are free to direct your written request(s) to
the originating agency. Unfortunately, I am not be able to assist you further in this regard.

Best of luck to you in the future.

Sincerely,

Yue.

Julie Lesser
Assistant Public Defender

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Case 3'24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 117 of 141 PagelD 146

Exhibit 'G' Letter's write to Mr: John Creuzot Criminal District
Attorney.

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December 06, 2021
To: Mr. John Creuzot Criminal District Attorney

Frank crevaey Courts Buidli
133 N. Riverfront Blvd. LB.-19

Dallas, Texas 75207-4399

From: Mr. Ernest E. Gaines #1364192
Preston e. Smith Unit HS/C-130B
1313 County Road 19
Lamesa, TX 79331

Dear Mr. John Creuzot Criminal District Attorney,
Sir, on june 15, 2021 you had the
Assistant District Attorney Rianne Morre Conviction Integrity Unit sent Cybergenetics
‘up on my request the electronic DNA data files (.hid and .fsa) on CDs:or USB drives.

Now corect me if I'm wrong but you download the CDs or the USB drives into a document
file copy and then open the document file and copy records from the file! I took a
some computer business courses an learned that.

I've wrote up to sixe:: letters dates from June 20, 2021, July 16, 2021, August 22,
2021, September 22, 2021, October 05, 2021, and October 26, 2021 requesting her to
send me a copies of the electronics: data files (.hid and .fsa) she claims she can not
perform the analysis withuot the electronic DNA data file.

Now she saids I must get with you and Dallas County Assistant District Attorney Rianne
Moore to get get copies of the electronic DNA data files (:hid and .fsa), so that I
will have copies for my file, and my expert witness to go over an see what evidecne

: a a : : :
pig elec trans OA date fates (eae ep aves oh ore se litigant made have a right to
view all the evidence in his case. Cybergenetics Mis. Stephanie Frisina, MS started
out being truthful, but late on would no answer my questions an statted withholding
information and maybe evidence can prove my innocence, so I need to review all the
electronics DNA data file (.hid and .fsa) for myself, please send information above!

Thank you for your assistance with this matter!

RE: State of Texas Sincerely, :
vs.
Ernest Edward Gaines Litigan oO Se

Cause No. FO05-56570

c.c.File.
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Case 3'24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 119 of 141 PagelD 148

September 22, 2021
To: Mr. John Creuzot Criminal District Attorney
Frank Crowley Courts building
133 N. Riverfront Blvd. LB. 19
Dallas, TX 75207-4399

From: Mr. Ernest E. Gaines #1364192
Preston E. Smith Unit HS/C-130B
1313 County Road 19
Lamesa, TX 79331

RE: State of Texas vs. Ernest Edward Gaines
‘ Cause No. F05-56570

Dear John Creuzot Criminal District Attorney,

. Sir, I'm bring to your
awareness that Riann Moore Assistanc District Attorney forwarded
Cybergenetis DNA data files on June 15, 2021 to review as I request

I have written Cybergenetics on July 16, 2021, August 22, 2021, ar
September 22, 2021 to send copies of the DNA data files sent to the
by Ms. Rianne Moore Ass. District Attorney, and Mr. John Creuzot Cr
inal District Attorney, ,and I-have réquested three different time f
them to send me copies of the DNA data files for me records an revi
for appeal purposes, and-they have not. I'm sending you there telep
number (412)683-3004 an tell them to forward me a copies of the DNA
data files sent to them by you, or you send me a copies so I can re
what was sent to them for my records an appeal purposes.

I also, want to Beas to your attendation I filed Applicant's, Pro
Motion For The 282ND Judicial District Court To Take Judicial Notic

Of The Attached Exhibit's In The Interests Of Justice Due Process F
Constitution Violations, and Applicant's Pro Se Motion For Post-Con

viciton To Compel Discovery To Obtain Documents And Trial Records I
Forma Pauperis that was not available to me, because I was on Suici-
Precaution Paper Drape Only the entire trial, and the Court was awa
of me begin on Suicide Precaution Paper Drape Only with[Stunbelt] o:
‘through out the entire trial. See 2017 U.S.App.LEXIS 14363 (7th Cir
Aug. 4, 2017), Sir, I would like a [Open File] to the District Atto:
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erance of evidence of actual innocence fer fileing 11.073 habeas co}
scienific evidence to prove actual innocnce with BNA Report was not

entered into evidence by Judge in a hearing that was no held with a
the Judicial member in the processing, which violation of applicant
due process rights to full hearing, and right to a fair trial procee
ing. No Article/Chapter 64.04 hearing has been held in the Gaines’
Motion For Post-Conviction Forensic DNA Testing Results Article/Chay
64.04 hearing violation of due process no results in DNA Testing res
Yes, there is evidence to prove applicant Gaines was not at the crin
scene of this offence. Riann Moore Ass. District Attorney is withho]
the favorable evidence that prove preponderance of evidence in the
actual innocence of Gaines case.

Honorable Criminal District Attorney John Creuzol would you allow
applicant Gaines’ Pro Se litigant the Opportunity to prove his innoc
sence by the preponderance of evidence in the [open file] of favor-
able evidence withheld in the District Attorney file that has been r
view by Applicant Gaines, request to review D.A. File. Thank You! Si

sincerely: yl Moa

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Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 1220f141 PagelD 151

September 22, 2022
To: Mr. John Creuzot Criminal District Attorney
Frank Crowley Courts building
133 N. Riverfront Blvd. LB. 19
Dallas, TX 75207-4399

From: Mr. Ernest E. Gaines #1364192
Preston E. Smith Unit HS/C-130B
1313 County Road 19
Lamesa, TX 7/9331

RE: State of Texas vs. Ernest Edward Gaines
Cause No. F05-56570

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Exhibit 'H' Letters of Mr; John Creuzot responding to Ernest Gaines
letters.

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JOHN CREUZOT
CRIMINAL DISTRICT ATTORNEY
DALLAS COUNTY, TEXAS

|
June 29, 2022

Mr. Ernest Edward Gaines

TDCJ No. 01364192
Preston E. Smith Unit

1313 CR19 |

Lamesa, TX 79331-1898

| RE: State of Texas vs. Ernest Edward Gaines
Cause No. F05-56570

Dear Mr. Gaines:

You previously wrote to the CIU asking for assistance in having files sent to Cybergenetics,
because they had agreed to look at the files for you at no cost to yourself. I wrote to you on June
15, 2021, indicating that at your request, the DNA data files were sent to Cybergenetics. They
performed that review and corresponded with you their results. I also wrote to you that the CIU
was not opening an investigation or further review into your case. I am now in receipt of your
letters dated September 30 and December 15, 2021. I reviewed your letters and the documents
related to your case, and am unable to assist you further at this time.

To make a Public Information Act request to the Dallas County District Attorney’s Office, please
write to the Dallas County District Attorney’s Office, Attn: Public Information Act Request, 133.
N. Riverfront Blvd., LB2, Dallas, TX 75207.

If you believe you have been wrongfully convicted and/or deprived of a fair trial, we encourage
you to pursue your claim and/or any other relief you believe you may have by seeking legal
counsel who can then advise you. Since the CIU is part of the District Attorney’s Office, we do
not represent individuals and cannot provide legal advice.

Additionally, we are returning your correspondence and we have retained a copy for our records.

Sincerely,

5 © Rag Pee,

Riann Moore

Assistant District Attorney
Conviction Integrity Unit
Dallas County, Texas

Frank Crowley Courts Building, 133 North Riverfront Boulevard, LB-19 Dallas, Texas 75207-4399 (214) 653-3600

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JOHN CREUZOT

CRIMINAL DISTRICT ATTORNEY
DALLAS COUNTY, TEXAS
APPELLATE DIVISION

July 14, 2022

Ernest Edward Gaines
TDCJ# 1386192
Preston E. Smith Unit
1313 County Road 19
Lamesa, Texas 79331

Re: Public Information Act request regarding record pertaining to trial
cause number F0556570.

Dear Myr. Gaines:

The Dallas County District Attorney’s Office received your request on July 13,

2022. In your request, you state that you are an inmate and seek records concerning

your conviction. Section 552.028 of the Public Information Act provides that a

governmental body is not required to accept or comply with a request for information

‘ from an individual who is imprisoned or confined in a correctional facility. Tex. Gov't

Code Ann. § 552.028(a)(1). This provision applies to requests from inmates or their

agents, even if the requested information pertains to the inmate. See Harrison v.

Vance, 34 S.W.3d 660, 662-63 (Tex. App.—Dallas 2000, no pet.); Hickman v. Moya,

976 S.W.2d 360, 361 (Tex. App.—Waco 1998, pet. denied). In accordance with the
Texas Government Code, your request is denied at this time.

Sincerely,

re

Ricardo Vela, Jr.
Assistant District Attorney
Dallas County District Attorney's Office

Frank Crowley Courts Building, 133 North Riverfront Boulevard, LB-19 Dallas, Texas 75207-4399 (214) 653-3600
Case 3:24-cv-00457-X-BK Document 4 Filed 02/20/24 Page 1290f141 PagelD 158
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Exhibit ‘I’ Letter from Judgé Amber Given-Davis;
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JUDGE AMBER GIVENS-DAVIS
282nd JUDICIAL DISTRICT COURT
Frank Crowley Courts Building
133 N. Riverfront Blyd., LB-32
Dallas, Texas 75207-4399
(214) 653-5852

October 11, 2016

Emest Edward Gaines °
TDCI #01364192

Michael Unit

2664 FM 2054

Tennessee Colony, TX 75886

Re: Ernest Edward Gaines v. The State of Texas
Court of Appeals No. 05-15-01144-CR
Trial Court No. F05-56570-S

Dear Sir:

The Court has received correspondence from you indicating you had not
been notified of the appointment of new counsel on your appeal. On July 8,
2016, the Court appointed Valencia Bush as your attorney. She may be
contacted at 10000 N. Central Expressway, Suite 400, Dallas, Texas 75231.
Her telephone number is 214-631-3435.

Sincerely,

ir

Judge Amber Givens-Davis

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Exhibit 'J' The Dallas Morning News Article Dallas County “‘Givens'
recusal sought by 15'.

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